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                                                                                                            I ;1 l




        October 2021

        Re: Docket# 21-1509/DC Docket# 3:17-CR-151-1



       To whom it may concern,

       My name is Rufus A Howell #16633-014, I currently in court appealing a Compassionate Release Motion
       that was denied by Judge Underhill, my sentencing judge. As it stands, I am waiting for next step in this
       process. The purpose of my correspondence is in the matter of my 14th Amendment Rights being
       violated. Please bear with me as a give a brief synopsis of how my 14th Amendment was violated.

       On June 21, 2017, I was pulled over by an Officer and Detectives ofthe Hartford Police Department; in
       which I was arrested for being in possession of 40 grams of Cocaine, 14 grams of Heroin and possession
       of a Firearm. At the time I was questioned about the drugs and firearm, I informed the Detectives that
       the drugs that they claimed to have found on June 21, 2017 was not Heroin or Cocaine; but instead was
       a powdered substance that is used for tattoo ink. In addition, I explained that I was not aware of any
       weapon and had no idea it was where they claimed to have found it. Despite my statement, I was
       arrested and given bond. •                           •

       One week later I posted bail for the charges that I was arrested for. A week after I posted bail from the
       State, I was arrested again for a Criminal Complaint Warrant for 21 U.S.C; 841 (a)(l) and (b)(l)(c)
       Possession with intent to Distribute and Distribution of a control substance to wit Heroin and Cocaine.;
       and 18 U.S.C 922(q)(l) Unlawful Possession of a Firearm by a felon. In the Criminal Complaint Affidavit,
       signed Alex Estrella, Special Duty U.S Marshalls on page 5, He states, "and a plastic bag containing
       approximately 40 grams of a white powdery substance which field tested positive for cocaine.

                   .                       .                       .
       On July 19, 2017, The Grand Jury indicted me for the following charges:
                                                                                           •                              •
        Count One: Unlawful Possession of a Firearm by a convicted felon

        Count Two: Possession with Intent to Distribute Cocaine

        Count Three: Possession with Intent to Distribute Heroin
                                                                                                '
        Count Four: Possession of a Firearm in furtherance of a Drug Trafficking Crime

        On January 12, 2018, I was released on a bond . 3-4 months after being release on bond, my lawyer
        informed me that the 40 grams of Cocaine that I initially was charged with had been dropped.
        Apparently, the reason was because the white powdery substance that they tested was not Cocaine but
        an unknown powder substance. The Prosecution reported that I was in possession of an illegal
        substance; when in reality I was not. I was in possession of white powdery substance; which I initially
- - --explained-wa_s:po~-~~r-used-fCJr--ta~too _i~ k.- -

        At the time of my indictment, I was not aware of what I am aware of today, which is the prosecution
        brought tainted evidence to the Grand Jury and based on the tainted evidence that was presented to
        the Grand Jury, anything gained from it was tainted as well. The evidence used at the trail would clearly
        be Fruit of a poisonous tree which violates my 14th Amendment.
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    If the Grand Jury was not lead to believe that I was in Possession of Cocaine then the Grand Jury would
    had never indicted me for Possession of Cocaine and my sentence would not have reflected the
    possession. The evidence that was gathered and reported violated my constitution rights because it was
    false information. The false evidence that was provided was used to show that a crime was committed. I
    was sentenced based off of a crime that was "not committed". Based on this discrepancy, I should be
    given a fair and just sentencing hearing which considers "only" the charges that were not dropped.

    If the Detective would have not reported that I had 40 grams of Cocaine to the Grand Jury or the matter
    to the State; would have I been indicted? The Defective's false statement not only cost me my freedom
    but posed a financial hardship on my family when they bonded me out. I know that my 14th
    Amendment was violated however I am not sure how prove that my rights were infringed upon. I am
    not-a lawyer; nor am I capable of getting one on my own. As it stands I am.fighting for my freedom -in
    Appeal Court and my health is declining due to being diagnosed with Chronic Kidney Disease Stage 3.

    If you can or are willing to help me I would greatly appreciate it. Thanks so much for your assistance in
    advance.

    Sincerely,

     Rufus A Howell

    {God Bless you ...... )



    CC:

     New York's Clerks Office

•    Honorable Judge D,ebra Ann Livingston     •
    Catherine O'Hagan Wolfe

    Sandra Slack Glover

    'Bridgeport's Clerk Offi~e
                                                   '                        '                                   I


     Honorable Judge Underhill

     US Court Appeal for Second Circuit



     Enclosed: Exhibit A and Indictment (Unites States of America vs Rufus Howell)
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                       EXH                         A
                           (Filed Under Seal)



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    ,                                                 ,
                   '                 '
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                                                                                                 UNITED STATES DISTRICT COURT
                                                                                                   DISTRICT OF CONNECTICUT


                          UNITED STATES OF AMERICA
                                                                            vs.                                                               CRIMINAL NO. 3:17-cr-00151(SRU)
                          RUFUS HOWELL                                                                                                        March 12, 2021


                                                         RESPONSE TO GOVERNMENT'S
c\7?1,'                                    SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MR. HOWELL'S
                                                   THIRD MOTION FOR SENTENCE REDUCTION
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  PAIL{                                   Mr. Howell respectfully submits this response to the government's Supplemental

                       Memorandum in Opposition to Defendant's Third Motion for Compassionate Release (Doc.# 138).

                                          The government argues that the Court should deny Mr. Howell's third motion, because on

                       February 24, 2021, Mr. Howell declined the vaccine on the basis that he had recently contracted and

                        suffered from Covid-19. The government's argument is incorrect for three reasons, mainly because

                       the government's arguments do not apply to Mr. Howell's situation.

                                          First, Mr. Howell's Third Motion is not principally based on COVID-19. Rather, his motion,

                        as suppo.rted by an expert medical declaration by Dr. Angiulli an.d medi~al records, is princip;lly

                        based on the fact that Mr. Howell has Stage 3 Chronic Kidney Disease and is not receiving adequate

                        medical treatment. Mr. Howell's'condition is worsening as reflected in the attached records. See
                                    ,                                                     ,                                               ,                      '                                             ,
                        Exhibit A (updated medical records). Mr. Howell has had a rash for four months. Medical staff

                        attribute the rash to his kidney disease. Exhibit A at 1. He had abnormal lab results, which the

                        medical staff attributed to his chronic kidney disease and high blood pressure. The notes recommend

                  ~ .t,,~p. "urgent pephrol9gy consultation and nep_hrology ultrasound." Exhibit A at 1 (~mphasis s~pplied):
                   ~
                                                                                                                                                               - - - - - - - - - - - - 'I- -
                        However, BOP medical staff have recommended a nephrology ultrasound for the last year and it has

       ....._ I         not yet been completed. The medical staff also recommended that he be considered for move to a
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            "higher level of care facility." Exhibit A at 1. BOP knew all of this information about Mr. Howell

            when they moved him from Raybrook to Danbury, yet, the BOP failed to de~ignate Mr. Howell to an

            adequate level of care facility. Moreover, BOP has been recommending an ultrasound since last year

            and failed to do it. The Bureau of Prisons has failed to treat adequately, Mr. Howell's kidney

            condition and high blood pressure. That condition is serious, and it is getting worse. The inadequacy

            of treatment for Mr. Howell's medical conditions is the principal basis of Mr. Howell's third motion,

        I
            and it is a contention that the government ha_s not directly addressed in its pleadings.
                                   I                      •                         ,•




                     Second, although Mr. Howell declined the vaccine on February 24, 2021, less than 60 days

            after being sick with COVID-19, he has not permanently refused the vaccine. Mr. Howell had a

            docum~nted case of COVID- l 9 at the end of Decem.ber with symptoms progressing
                                                                                  .                       .
                                                                                            at least into early
                                                                                                .
            January. All of those records were supplied by undersigned counsel as ~ttachments to the Third

            Motion. According to our expert, Danbury failed to treat Mr. Howell's COVID-19 according to

            standard of care. See Exhibit B to the Third Motion (Angiulli Declaration):, The government offers

            no scientific evidence for its contention that Mr. Howell is incorrect about the advice to wait 90 days

    -                          .                      .                        .                       .
            before getting· the COVID-19 vaccine. In fact, there is guidance on the CDC ·website stating that

            under certain circumstances, a person who contracts COVID-19 should not be vaccinated against

,           COVID-19 within 90 days of contracfoag the disease. See https://www.cdc.gov/cgronavirus/2019-
                                                                                                                      '
            '                    '
            ncov/vaccines/fag.html.
                                                          '                     '                    '
                                       Specifically, the CDC advises, "if a person was infected within the last 90

            days,     they    may      defer     vaccination        until   after        a   90-day    period."

            https://www.cdc.gov/vaccines/covid-19/hcp/fag.html. When offered the vaccine on February 24, Mr.

            Howell was within 90 days of having contracted the disease, and he is still ~ithin 90 days of having

            the disease. Mr. Howeil 'sposition was reasona 'le -and consistent witntlie CDC guidance.




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                Third, although this motion is not principally about COVID-19 and the vaccme, it is

     nevertheless true that Mr. Howell remains at increased risk of another COVID infection due to his


\/   co-morbidities. It would be perfectly reasonable for Mr. Howell to distrust the BOP in light of how

     the BOP has treated him over the last year. Much has been written about why many inmates generally

     distrust       the        BOP      and       the       BOP's            administration       of - vaccines.

     https ://www.themarshallproject.org/2021 /03/0 I/we-asked-people-behind-bars-how-they-feel-about-
                                    .                                .                        .
     getting                  vaccinated?.utrn medium=email&utm campaign=newsletter&utm source=opening-

     statement&utm: term=newsletter-20210301-2379; see also Martinez-Brooks v. Easter, 20cv569

     (MPS) (Declaration of Dr. Jamie Meyer) (Doc. #362-2). In Mr. Howell's case, however, we do not
                .                             .
     generalize. BOP's incompetence and failure to deal with Mr. Howell's medieal issues specifically ·

     injured Mr. Howell. Under these facts, it is difficult to imagine anyone who would trust BO P's advice

     Moreover, his position is consistent with CDC guidance, and none of the government's discussion of

     the vaccine has anything to do with Mr. Howell's principal complaint, which is that the BOP has

                                                        .
     failed to treat his chronic kidney disease adequately.
                          .
                                                                 •                        •
                                                                         Respectfully submitted,

                                                                         THE DEFENDANT,
                                J                            ,           Rufus Howell ,
                                                                                                  J
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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF CONNECTICUT
                                                                                FILED

                                                    N-16-3
                                                                      2u17 JUL 19 Prl 1 01
                                                                       U.S. DISTRICT COURT
       UNITED STATES OF AMERICA

                       v.
                                                             No. 3:17CR/5/~i¼.½CT.
                                                             VIOLATIONS:

       RUFUS HOWELL                                          18 U.S.C. § 922(g)(l) (Unlawful Possession
                                                             of a Firearm by a Convicted Felon)

                                                             21 U.S.C. § 841 (a) (Possession with Intent to
                                                             Distribute a Controlled Substance)

 \J-     u~h_j/ f                                            18 U.S.C. § 924(c) (Possession of a Firearm
                                                             in Furtherance of a Drug Trafficking Crime)


/fl)JA L-earniYlfr                                           18 U.S.C. § 853 (Criminal Forfeiture,
                                                             Controlled Substances Offenses)

                                                             18 U.S.C. § 924(d) (Criminal Forfeiture,
                                                             Fireanns Offenses)


                                             INDICTMENT

              The Grand Jury charges:

                                                COUNT ONE
                            (Unlawful Possession of a Firearm by a Convicted Felon)

              1.       On or about June 21, 2017, in the District of Connecticut, defendant RUFUS

       HOWELL, having been convicted in the United States District Court for the District of

       Connecticut and Superior Court of the State of Connecticut of crimes punishable by imprisonment

       exceeding one year, that are: a) Use of a Communications Facility to Facilitate a Drug Trafficking

       Felony, in violation of Title 21, United States Code, Section 843(b), on November 7, 2005; b) Sale


                                                       1
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of Narcotics, in violation of Conn. Gen. Stat. § 2la-277(a), on June 23, 2005; c) Corrupt

Organizations and Racketeering Activity, in violation of Conn. Gen. Stat. § 53-395, and Larceny

in the Third Degree, in violation of Conn. Gen. Stat. § 53a-] 24, on July 23, 1999; d) Sale of

Narcotics, in violation of Conn. Gen. Stat. § 21 a-277(a), and Possession of Drugs Near a Prohibited

Place, in violation of Conn. Gen. Stat.§ 2 la-278a(b), on July 23, 1999; e) Possession of Narcotics,

in violation of Conn. Gen. Stat. § 21a-279, on July 23, 1999; f) Forgery in the Second Degree, in

violation of Conn. Gen. Stat.§ 53a-139, on January 27, 1999; and g) Sale ofNarcotics, in violation

of Conn. Gen. Stat. § 21a-277(a), on May 27, 1998, did knowingly possess in and affecting

interstate commerce a firearm, to wit, (1) one Hi-Point, Model C9, 9 mm semi-automatic pistol,

bearing serial number Pl 506183, which had been shipped and transported in interstate and foreign

commerce.

       In violation of Title 18, United States Code, Sections 922(g) and 924(a)(2).

                                        COUNT TWO
                          (Possession with Intent to Distribute Cocaine)

     0          On or about June 21, 20 l 7, in the District of Connecticut, defendant RUFUS

HOWELL knowingly and intentionally possessed with intent to distribute a mixture and substance

containing a detectable amount of cocaine, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                        COUNT THREE
                           (Possession with Intent to Distribute Heroin)

       3.       On or about June 21, 2017, in the District of Connecticut, defendant RUFUS

HOWELL knowingly and intentionally possessed with intent to distTibute a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled substance.


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        In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(C).

                                          COUNTFOUR
               (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

        4.      On or about June 21, 2017, in the District of Connecticut, defendant RUFUS

HOWELL did knowingly possess a firerum, namely, a Hi-Point, Model C9, 9 mm semi-automatic

pistol, bearing serial number Pl506183, in furtherance of a drug trafficking crime for which he

may be prosecuted in a Court of the United States, that is, violations of Title 21, United States

Code, Sections 841(a)(l) and 84l(b)(l)(C), as charged in Counts Two and Three of this

Indictment.

        In violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                   FORFEITURE ALLEGATION
                                  (Controlled Sub~tances Offense)

       5.       Upon conviction of the controlled substance offenses alleged in Counts Two and

Three of this Indictment, defendant RUFUS HOWELL shall forfeit to the United States, pursuant

to Title 21, United States Code, Section 853, all right, title, and interest in any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the violations

of Title 21, United States Code, Section 841, and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, these violation and a sum of money

equal to the total amount of proceeds obtained as a result of the offense including, but not limited

to, the following: a Hi-Point, Model C9, 9 mm semi-automatic pistol, bearing serial number

Pl 506183.

       If any of the above-described forfeitable property, as a result of any act or omission of the

defendant named in this Indictment: (a) cannot be located upon the exercise of due diligence; (b)


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has been transferred or sold to, or disposed with, a third person; (c) has been placed beyond the

jurisdiction of the United States District Court for the District of Connecticut; (d) has been

substantially diminished in value; or (e) has been commingled with other property which cannot

be subdivided without difficulty, it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p), to seek forfeiture of any other property of the defendant up to the

value o:fthe above-described forfeitable prope1ty.

       AU in accordance with Title 21, United States Code, Section 853 and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

                                  FORFEITURE ALLEGATION
                                      (Firearm Offenses)

       6.      Upon conviction of the offenses alleged in Counts One and Four of this Indictment,

defendant RUFUS HOWELL shall forfeit to the United States, pursuant to Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461(c), all firearms and

ammunition, including but not limited to the fo1lowing: (1) a Hi-Point, Model C9, 9 mm semi-




                                                 4
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automatic pistol, bearing serial number P1506183.

       All in accordance with Title 18, United States Code, Section 924, and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.


                                                    A TRUE BILL




UNITED STATES ATTORNEY


-v~ ··2foJ
n6rRDREM. DALY
UNITED STATES ATTORNEY



BRIAN P. L~.AMING (
ASSISTANT UNITED STATE ATTORNEY




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